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                                                     U.S. Department of Justice

                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                    September 13, 2021
By e-mail
Eugene Ohm
Federal Public Defender for the District of Colombia
625 Indiana Ave. NW
Washington D.C. 20004
Email: Eugene_Ohm@fd.org


       Re:    United States v. Arthur Jackman
              Case No. 21-CR-378 (TJK)

Dear Mr. Ohm:

       We have uploaded to your account in USAFx the following discovery:

0176-TP-3379197_0000020.pdf
0176-TP-3379197_0000020_Import.pdf
0176-TP-3379197_0000021.pdf
0176-TP-3379197_0000021_Import.pdf
0176-TP-3379197_0000022.pdf
0176-TP-3379197_0000022_1A0000013_0000001.pdf
0176-TP-3379197_0000022_1A0000013_0000003.pdf
0176-TP-3379197_0000022_1A0000013_0000004.pdf
0176-TP-3379197_0000022_1A0000013_0000005.pdf
0176-TP-3379197_0000042.pdf
0176-TP-3379197_0000042_1A0000029_0000001.pdf

        The following materials are designated as HIGHLY SENSITIVE under the
protective order in this case:

0176-TP-3379197_0000020_Import.pdf
0176-TP-3379197_0000021_Import.pdf
0176-TP-3379197_0000022_1A0000013_0000005.pdf
0176-TP-3379197_0000042_1A0000029_0000001.pdf
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All files uploaded to USAFx will automatically be deleted after 60 days per the automatic
retention policy in place. Please download the files before then. This material is subject to the
terms of the Protective Order issued in this case.

       Note that all these files and their related physical attachments are currently being formally
processed for discovery by the discovery team assigned to the Capitol Riots cases. As such, the
same files will be re-produced with bates-stamps at a later date. Nevertheless, we wanted to
provide you what we can now as we wait for this processing to be finalized.

        We are also writing to give you an opportunity to obtain copies of your client’s electronic
devices and to view physical evidence in this case. I have attached a list of evidence seized from
your client. The government will also produce in discovery reports for all accounts and electronic
devices related to your client. Generally, that discovery will include a forensic report documenting
the portions of the account or device that were deemed responsive to a warrant, and not the entirety
of the device or account.

        In the meantime, if you would like a copy of the government’s extraction from any of the
electronic devices on the attached list, please place an “X” in the cell next to the device(s) and
return the spreadsheet to me. Extractions for computers will be E01 files that are not readily
viewable without forensic software. For mobile devices, we will generally provide a Cellebrite
reader report which is an executable file and will open on any Windows machine.

        I will contact the FBI to determine the location of any requested device(s) and to obtain a
recommendation for the size and type of hard drive that will be required. I will then provide you
a name and address where you can send (or have a vendor send) a hard drive to have the images
loaded. The FBI will return your hard drive directly to the address you specify. Accordingly,
please ensure that the hard drive is clearly labeled with the defendant’s name and case number as
well as a point of contact to receive the drive including, name, firm, address, and telephone
number.

       Generally, depending on the location and number of devices at issue, the government
estimates that it could take approximately thirty days to complete this process.

         Please let us know if there are additional seized accounts or devices that you seek because
they belong to your client. Finally, if you would like to inspect any of the physical evidence seized
in this case, please let me know.

        Some defense counsel in the Capitol Breach cases have requested information that they
claim suggests a member (or members) of law enforcement allowed people to enter or remain in
the Capitol or on restricted grounds, acted friendly or sympathetic to the rioters, or otherwise failed
to do their jobs. As an initial matter, we do not believe that such information is exculpatory as to
guilt or punishment within the meaning of Brady v. Maryland, 373 U.S. 83 (1973). Nevertheless,
the government possesses some information that arguably could be responsive to these


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requests. Out of an abundance of caution, the government will be making such information
available to you, if it has not done so already.
                                                 Sincerely,


                                               Nadia E. Moore
                                               Assistant United States Attorney
Enclosure(s)
cc:




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